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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        *
                                                 *
                                                 *
                       v.                        *          Criminal No. 23-cr-323-PX
                                                 *
                                                 *
 MICHAEL VERZALENO, JR., ET AL.,                 *
                                                 *
                            Defendants.          *

                      RESPONSE TO MOTION TO EXCLUDE TIME
                       PURSUANT TO THE SPEEDY TRIAL ACT

       On behalf of all defendants in this matter (together, the “Defendants”), we write

respectfully in response to the motion to exclude time filed by the government on October 7, 2024.

(Dkt. 132.) For the reasons stated herein, Defendants do not oppose an exclusion of time from the

date of any exclusion order through December 2, 2024. The government’s further request for a

retroactive exclusion to June 3, 2024, however, is improper and should be denied.

       In support of this response, Defendants respectfully assert as follows:

       1.      The government’s application for an exclusion of time pursuant to the Speedy Trial

Act, Title 18 U.S.C. § 3161, et seq., recounts a series of events in connection with its request,

which in general are accurate with respect to the dates on which such events occurred. The

application omits, however, that a number of the extensions and adjournments occurring in this

case were the result of discovery failures by the government, which then forced the defense to

“request[] additional time to review discovery and file motions.” (Id. ¶ 6; see also id. ¶ 9.) The

most egregious example is the government’s belated production, less than four days before trial

was scheduled to begin, of additional material comprised of approximately 50,000 pages and 12

hours of additional recordings—including, among other things, recordings of the defendants and

the government’s primary cooperating witness. In light of that belated production—and the
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government’s representation that there was even more to come—the government “did not object”

to a thirty-day continuance of the trial. (Id. ¶ 9.)

        2.      Defendants provide this information to clarify the representations made by the

government in its application, and to the extent that the reasons necessitating prior extensions and

adjournments inform the Court’s resolution of the government’s request to exclude time pursuant

to the Speedy Trial Act. See, e.g., 18 U.S.C. § 3161(h)(7)(C) (providing that “[n]o continuance . .

. shall be granted because of . . . lack of diligent preparation . . . on the part of the attorney for the

[g]overnment”). Given the ongoing need to review the voluminous discovery produced by the

government on the eve of trial (and afterward), however, Defendants do not oppose a prospective

exclusion of time through the new date of trial.

        3.      Defendants do oppose the government’s further request for a retroactive exclusion

back through June 3, 2024. A court may exclude time for a certain period if (i) a continuance is

granted “on the basis of [its] findings that the ends of justice served by taking such action outweigh

the best interest of the public and the defendant in a speedy trial,” and (ii) “the court sets forth, in

the record of the case, either orally or in writing, its reasons for [the] finding[s].” 18 U.S.C. §

3161(h)(7)(A). Thus, it must be “clear from the record that the court conducted the mandatory

balancing contemporaneously with the granting of the continuance.” United States v. Keith, 42

F.3d 234, 237 (4th Cir. 1994). Retroactive exclusions like that requested by the government are

not permitted under the Speedy Trial Act because the Fourth Circuit has “made clear that [a] district

court may not grant an ends of justice continuance nunc pro tunc.” Keith, 42 F.3d at 237.

        4.      The government did not previously file a motion to exclude time or request that the

Court do so; as such, there was no opportunity to make the contemporaneous findings necessary

to support an exclusion of time back through June 3, 2024. Cf. United States v. Berndt, No. CR




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JKB-21-0164, 2024 WL 1886122 at *3 (D. Md. Apr. 29, 2024) (dismissing indictment where “the

Court clearly made no contemporaneous findings” as “[n]o motion was pending that would have

given the Court occasion to make such contemporaneous findings”). “Further, several other circuit

courts have explained that a continuance must be granted before the period sought to be excluded

begins.” United States v. Henry, No. CR JKB-23-0466, 2024 WL 2701637 at *1 (D. Md. May 24,

2024). In short, this is not a case where the Court may exclude time that has already passed based

on a request that was pending but not resolved until later. Rather, this is a paradigmatic case of

the government seeking an “ends of justice continuance nunc pro tunc.” Keith, 42 F.3d at 237.

Accordingly, that portion of the government’s request is improper and should be denied.

       In sum, Defendants do not oppose an exclusion of time from the date of any order on the

government’s motion through the new date of trial, December 2, 2024. But the government’s

mischaracterizations and attempt to project blame for any delay on the Defendants is improper and

should be rejected. Moreover, because the Speedy Trial Act does not permit nunc pro tunc

exclusions of time, Defendants respectfully request that the Court deny the government’s further

request for a retroactive exclusion back through June 3, 2024.

Dated: October 8, 2024
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